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                                                                                              FILED
                                                                                         IN OPEN COURT

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA                            JAN 1 2 2022

                                      Newport News Division                        CLERK, U.S. DISTRICT COURT
                                                                                          NORFOLK. VA
UNITED STATES OF AMERICA

               V.                                     CRIMINAL NO. 4:21-cr-85

JENNA MITCHUM,

                       Defendant.


                                    STATEMENT OF FACTS


       By signing below, the parties stipulate that the allegations in the criminal information and

the following facts are true and correct, and that had the matter gone to trial, the United States

would have proven them beyond a reasonable doubt, by competent and admissible evidence.

                                            Background


        1.     JENNA MITCHUM,the defendant herein, and her husband and coconspirator,

MALIK MITCHUM,resided in Hampton, Virginia, within the Eastern District of Virginia,

and later moved to Severance, Colorado, in or about April 2021.

       2.      The defendant was unemployed during all times relevant to the offense conduct.

The defendant's husband, MALIK MITCHUM, worked as an Air Force Vehicle Asset Manager

assigned to Joint Base Langley-Eustis prior to his separation from the Air Force in or about

October 2021 with an Other Than Honorable characterization of service.

                               Government Programs to Mitigate
                            Economic Impact of COVID-19 Pandemic


       3.      The United States Small Business Administration(SBA)is an executive-branch

agency of the United States government that provides support to entrepreneurs and small


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businesses. The mission ofthe SBA is to maintain and strengthen the nation's economy by

enabling the establishment and viability of small businesses and by assisting in the economic

recovery of communities after disasters.

        4.     As part of this effort, the SEA enables and provides for loans through banks,

credit unions and other lenders. These loans have government-backed guarantees. In addition

to traditional SEA funding programs, The CARES Act, which was signed into law in March

2020, established several new temporary programs and provided for the expansion of others to

address the COVID-19 pandemic.

        5.     One of these new programs was the SEA Paycheck Protection Program (PPP),

which provided for loans as a direct incentive for small businesses to keep their workers on the

payroll. Under this program, the SEA forgave all or part of loans if the applying business kept

its employees on the payroll for eight weeks and submitted documentation confirming that the

loan proceeds were used for payroll, rent, mortgage interest, or utilities. Interested applicants

apply through an existing SEA lender or any other participating federally insured financial

institution.


        6.     The PPP application process requires applicants to submit a Borrower Application

Form through an SBA-approved financial entity. The application contains information as to the

purpose of the loan, average monthly payroll, number of employees and background of the

business and its owner, including questions relating to criminal history. Applicants are also

required to make good faith certifications, including that economic uncertainties have

necessitated their loan requests for continued business operations and that they intend to use loan

proceeds only for the authorized and not any duplicative purposes.




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        7.       Another related response to the COVID-19 pandemic has been an expansion of

an existing disaster-related program -the Economic Injury Disaster Loan(EIDL)-to provide

for loan assistance (including $10,000.00 advances)for small businesses and other eligible

entities for loans up to $2 million. The EIDL proceeds can be used to pay fixed debts, payroll,

accounts payable and other bills that could have been paid had the disaster not occurred;

however, such loan proceeds are not intended to replace lost sales or profits or for expansion of

the business.


        8.      Unlike certain other types of SBA-guaranteed loans, EIDL funds are issued

directly from the United States Treasury and applicants apply through the SBA via an online

portal and application. The EIDL application process, which also uses certain outside

contractors for system support, collects information concerning the business and the business

owner, including information as to the gross revenues for the business prior to January 31, 2020;

the cost of goods sold; and information as to any criminal history of the business owner.

Applicants electronically certify that the information provided is accurate and are warned that

any false statement or misrepresentation to the SBA or any misapplication of loan proceeds may

result in sanctions, including criminal penalties.

                                  Scheme and Artifice to Defraud

       9.       From in or about March 2020 and continuing until in or about May 2021, the

defendant joined together with MALIK MITCHUM and others to engage in a scheme and

artifice to defraud and for obtaining money and property by materially false and fraudulent

pretenses, for which the defendant transmitted and caused to be transmitted by means of wire

communication in interstate commerce certain writings, signs, signals and sounds.




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A.      Alpha 2 Omega Logistics- March 2020 EIDL

        10.    On or about March 31, 2020, the defendant and MALIK MITCHUM

electronically applied for an EIDL using the company name Alpha 2 Omega Logistics LLC.

MALIK MITCHUM had previously registered Alpha 2 Omega Logistics with the Wyoming

Secretary of State in or about May 2019.

        11.    In the EIDL application, the defendant and MALIK MITCHUM falsely claimed

that Alpha 2 Omega Logistics was located at *** Expedition St in Hampton, Virginia; had

annual revenue of approximately $500,000 for the 12 months preceding the disaster; was

involved in the transportation industry; and had 12 employees as of January 31, 2020. In fact,

Alpha 2 Omega Logistics had no such office, revenue, business activity, or employees.

        12.     As a result of the EIDL application, the defendant was offered loan proceeds of

$150,000.00 and a $10,000.00 grant. MALIK MITCHUM electronically signed a Loan

Authorization and Agreement and other associated documentation on May 22, 2020. This

agreement contained certifications that all representations in the EIDL application were "true,

correct and complete and are offered to induce SBA to make this loan," and contained warnings

of penalties for misapplication of proceeds and false statements or misrepresentations to the

SBA.


       13.     On or about May 26, 2020, EIDL funds in the amount of $149,900.00 and

$10,000 were deposited in the defendant's account at Langley Federal Credit Union (ending in

9078). Between on or about May 27, 2020, and June 23, 2020, the defendant and MALIK

MITCHUM structured more than a dozen withdrawals of U.S. currency from this account- often

for amounts just under the reporting threshold.




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B.      Alpha 2 Omega Logistics- April 2020 PPP Loan

        14.    On or about April 21,2020,the defendant and MALIK MITCHUM electronically

applied for a PPP loan through Bank of America using the entity Alpha 2 Omega Logistics.

Bank of America subsequently approved the PPP loan in the amount of $148,958.00.

       15.     In the PPP application to Bank of America, the defendant and MALIK

MITCHUM falsely claimed that Alpha 2 Omega Logistics was located at *** Expedition Street

in Hampton, Virginia; had annual revenue of$500,000.00 for the 12 months preceding the

disaster; had 15 employees; and that loan proceeds were to be used for business-related purposes.

In fact, Alpha 2 Omega Logistics had no such office, revenue, business activity, or employees.

       16.     On or about July 27, 2020, PPP funds in the amount of $148,958.00 were

deposited in a Bank of America account(last four digits 5637) held in the name of Alpha 2

Omega Logistics. Between on or about July 27, 2020, and on or about August 10, 2020, the

defendant and MALIK MITCHUM obtained this money by structuring withdrawals of U.S.

currency and transferring funds to accounts held in the name of other entities they owned.

       17.     The defendant and MALIK MITCHUM subsequently submitted more false

documentation, and this PPP loan was forgiven by the financial institution and the federal

government.

C.     Southern bv the Belle - EIDL Advance

       18.    On or about June 19, 2020, the defendant and MALIK MITCHUM applied for an

EIDL using the entity Southern by the Belle. The defendant later registered Southern by the

Belle with the Virginia State Corporation Commission on or about June 25, 2020.

       19.    This EIDL application was denied, but the defendant and MALIK MITCHUM




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obtained an $8,000.00 advance on or about June 22,2020. They obtained these funds under

false pretenses by representing that Southern by the Belle employed eight people as of January

31, 2020; had annual revenue of approximately $85,000; and that the business opened on

December 30, 2019. In fact, Southern by the Belle had no such employees, revenue, or business

activity.

D.      A20 Auto Brokers- June 2020 EIDL


       20.      On or about June 25,2020,the defendant and MALIK MITCHUM electronically

applied for an EIDL using the entity A20 Auto Brokers. MALIK MITCHLIM registered A20

Auto Brokers LLC with the Virginia State Corporation Commission on or about the same day.

       21.      In the EIDL application, the defendant and MALIK MITCHUM falsely claimed

that A20 Auto Brokers LLC was located at *** Expedition St in Hampton, Virginia; had annual

revenue of approximately $300,000 for the 12 months preceding the disaster; was involved in the

automotive/gas industry; had 10 employees as of January 31, 2020; and was opened on

December 22, 2019. In fact, A20 Auto Brokers had no such office, revenue, business activity,

or employees.

       22.      As a result of the EIDL application, the defendant and MALIK MITCHUM were

offered loan proceeds of $115,000.00 and a $10,000.00 grant. They again signed loan

agreements and other documentation certifying that the representations in their application were

true and correct under penalty of perjury.

       23.      On or about June 30, 2020, the defendant and MALIK MITCHUM obtained the

$10,000.00 grant. They later obtained the $115,000.00 EIDL on or about August 31, 2020.

The defendant and MALIK MITCHUM subsequently structured withdrawals of U.S. currency



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and transferred funds to accounts held in the name of other entities they owned.

       24.     On or about September 4, 2020, MALIK MITCHUM used $38,743.00 of these

fraud proceeds to purchase a Rolex watch from Fink's Jewelers in Norfolk, Virginia.

E.     Alpha 2 Omega- January 2021 PPP Loan

       25.     On or about January 13, 2021, the defendant and MALIK MITCHUM applied for

a PPP loan through ReadyCap Lending LLC using the entity Alpha 2 Omega. The lender

subsequently approved the PPP loan in the amount of $150,000.00.

       26.     In this PPP application, the defendant and MALIK MITCHUM falsely claimed

that Alpha 2 Omega was located at *** Expedition Street in Hampton, Virginia; had monthly

payroll obligations of $60,000.00; had 9 employees; and that loan proceeds were to be used for

business-related purposes. In addition to these false claims, the defendant and MALIK

MITCHUM submitted fabricated bank statements in support their fraudulent application. In

fact, Alpha 2 Omega had no such office, revenue, business activity, or employees.

       27.     On or about February 24, 2021, PPP funds in the amount of $150,000.00 were

deposited in a Bank of America account (last four digits 5637) held in the name of Alpha 2

Omega Logistics LLC. Over the course of a month, the defendant and MALIK MITCHUM

obtained the PPP funds by structuring withdrawals of U.S. currency and transferring money to

accounts held in the names of other entities they owned.

F.     Day and Night Trucking LLC - February 2021 PPP Loan


       28.     On or about February 19, 2021, the defendant and MALIK MITCHUM applied

for a PPP loan through ReadyCap Lending LLC using the entity Day and Night Trucking LLC.

The defendant had previously registered this entity with the Virginia State Corporation
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Commission on or about January 14, 2021. The lender subsequently approved the PPP loan in

the amount of $150,000.00.

       29.     In this PPP application, the defendant and MALIK MITCHUM falsely claimed

that Day and Night Trucking LLC was located at *** Expedition Street in Hampton, Virginia;

had monthly payroll obligations of$60,000.00; had 9 employees; and that loan proceeds were to

be used for business-related purposes. In addition to these false claims, the defendant and

MALIK MITCHUM submitted fabricated bank statements in support their fraudulent

application. In fact. Day and Night Trucking LLC had no such office, revenue, business

activity, or employees.

       30.    On or about February 26, 2021,PPP funds in the amount of $150,000.00 were

deposited in a Bank of America account (last four digits 5293) held in the name of Day and

Night Trucking LLC. Over the course of a month, the defendant and MALIK MITCHUM

obtained the PPP funds by structuring withdrawals of U.S. currency and transferring money to

accounts held in the names of other entities they owned.

G.     A20 Auto Brokers - Mav 2021 PPP Loan


       31.    On or about May 5, 2021, the defendant and MALIK MITCHUM applied for a

PPP loan through Newtek Small Business Finance using the entity A20 Auto Brokers. The

lender subsequently approved the PPP loan in the amount of $170,800.00.

       32.    In this PPP application, the defendant and MALIK MITCHUM falsely claimed

that A20 Auto Brokers was located at *** Expedition Street in Hampton, Virginia; had monthly

payroll obligations of$68,333.00; had 9 employees; and that loan proceeds were to be used for

business-related purposes. In fact, A20 Auto Brokers had no such office, revenue, business




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activity, or employees.

       33.       On or about May 10, 2021, PPP funds in the amount of $170,800.00 were

deposited in a Bank of America account (last four digits 0567) held in the name of A20 Auto

Brokers LLC. Over the course ofthe next month, the defendant and MALIK MITCHUM

obtained the PPP funds by structuring withdrawals of U.S. currency and transferring money to

accounts held in the names of other entities they owned.

H.     Intended Loss from Failed Attempts to Obtain PPP and EIDL Funds by Fraud

       34.       In addition to the foregoing, the defendant and MALIK MITCHUM submitted the

following unsuccessful applications for pandemic-related benefits:

         Comoany                    Loan            Amount                Date                Owner
 Alpha 2 Omega Logistics      PPP            $105,000.00             4/26/2020        Malik Mitchum
                                             (intended loss)
 A20 Auto Brokers LLC         PPP            $337,500.00             6/25/2020        Malik Mitchum
                                             (intended loss)
 Southern by the Belle        PPP            $307,500.00             6/26/2020        Jenna Mitchum
                                             (intended loss)
 Southern by the Belle        PPP            $150,000.00             1/13/2021        Jenna Mitchum
                                             (intended loss)
 Southern by the Belle        PPP            $150,000.00             2/1/2021         Jenna Mitchum
                                             (intended loss)
 Alpha 2 Omega Logistics      PPP            $150,000.00             2/1/2021         Malik Mitchum
                                             (intended loss)
 Pure Pressure                PPP            $150,000.00             1/13/2021        Malik Mitchum
                                             (intended loss)
 Pure Pressure                PPP            $150,000.00             2/1/2021         Malik Mitchum
                                             (intended loss)
 A20 Auto Brokers LLC         PPP            $150,000.00             2/1/2021         Malik Mitchum
                                             (intended loss)
 A20 Auto Brokers LLC         PPP            $150,000.00             2/10/2021        Malik Mitchum
                                             (intended loss)
 Southern by the Belle        PPP            $150,000.00             3/14/2021        Jenna Mitchum
                                             (intended loss)
 Day and Night Trucking       PPP            $150,000.00             4/23/2021        Jenna Mitchum
                                             (intended loss)




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1.      Additional Fraud Linked to the Conspiracy by IP Address

        35.    Four additional companies submitted fraudulent applications for pandemic-related

benefits using the IP address 173.50.79.63 and 75.2.222.80 - both of which are linked to the

defendant and MALIK MITCHUM.


       36.    The carrier for IP address 173.50.79.63 was Verizon, and the customer was the

defendant at *** Expedition Street, Hampton, Virginia. The defendant and MALIK

MITCHUM used this same IP address on no fewer than eight occasions to submit fraudulent

applications for EIDL and/or PPP funds.

       37.    The carrier for IP address 75.2.222.80 was AT&T,and the customer was the

defendant at an address in the State of Georgia. The defendant and MALIK MITCHUM used

this same IP address on no fewer than two occasions to submit fraudulent applications for EIDL

and/or PPP funds.


       38.    The following are fraudulent applications for pandemic-related benefits submitted

from these IP addresses.


         Comnanv                  Loan              Amount                 Date                Owner


     Laurie Landscaping           PPP            $150,000.00            1/13/2021       INDIVIDUAL 1
                                                (intended loss)
     Laurie Landscaping           PPP            $150,000.00            2/10/2021       INDIVIDUAL 1
                                                (intended loss)
     Laurie Landscaping           PPP            $150,000.00            4/8/2021        INDIVIDUAL 1
                                                (intended loss)
      Pure Auto Repair            PPP            $150,000.00            2/1/2021        INDIVIDUAL 2
                                                (intended loss)
      Pure Auto Repair            PPP            $150,000.00            2/10/2021       INDIVIDUAL 2
                                                (intended loss)
     Stubbs Construction          PPP             $36,800.00            1/13/2021       INDIVIDUAL 3
                                                 (actual loss)


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       Stubbs Construction          PPP            $150,000.00            2/10/2021       INDIVIDUAL 3
                                                  (intended loss)
       Stubbs Construction          PPP            $150,000.00            4/19/2021       INDIVIDUAL 3
                                                  (intended loss)
        Frankenstrain LLC           PPP            $150,000.00            2/13/2021       INDIVIDUAL 4
                                                  (intended loss)
        Frankenstrain LLC           PPP            $150,000.00            2/13/2021       INDIVIDUAL 4
                                                  (intended loss)
       Frankenstrain LLC            PPP            $150,000.00            2/15/2021       INDIVIDUAL 4
                                                  (intended loss)
       Frankenstrain LLC            PPP            $150,000.00            2/19/2021       INDIVIDUAL 4
                                                  (intended loss)
       Frankenstrain LLC            PPP            $132,200.00            5/3/2021       INDIVIDUAL 4
                                                  (intended loss)

          39.    The foregoing applications were all denied with the exception of the January 2021

application by Stubbs Construction for $36,800.00.

J.        Additional Fraud Linked to the Conspiracy by Payments

          40.    Three additional companies submitted fraudulent applications for pandemic-

related benefits and later wired or otherwise deposited funds into accounts controlled by the

defendant and the defendant.


             Comoanv              Loan       Amount             Date              Owner


           Vintage AIM            PPP      $150,000.00       2/24/2021       INDIVIDUAL 5
                                          (intended loss)
           Vintage AIM            PPP      $150,000.00       3/22/2021       INDIVIDUAL 5
                                           (actual loss)
     Touched by a Professional    PPP      $150,000.00        1/13/2021      INDIVIDUAL 6
                                           (actual loss)
     Touched by a Professional    PPP      $150,000.00       2/11/2021       INDIVIDUAL 6
                                          (intended loss)
     Touched by a Professional    PPP      $150,000.00       3/30/2021       INDIVIDUAL 6
                                          (intended loss)
            DOL LLC               PPP      $150,000.00        1/13/2021      INDIVIDUAL 7
                                           (actual loss)
            DOL LLC               PPP      $150,000.00       2/11/2021       INDIVIDUAL 7
                                          (intended loss)


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          DOL LLC                 PPP        $150,000.00       4/23/2021        INDIVIDUAL 7
                                            (intended loss)

       41.      This fraud is linked to the conspiracy by the following payments to companies

owned and operated by the defendant and MALIK MITCHUM.

       Comnanv               Pavment Amount                   Date                 Recinient


 Vintage AIM               $20,000.00               5/21/2021             Southern by the Belle
                                                    (10 days after        (JENNA
                                                    receiving $150,000 in MITCHUM)
                                                    PPP funds)
 Touched by a              $20,000.00               3/8/2021              Alpha 2 Omega
 Professional                                       (6 days after         (MALIK
                                                    receiving $150,000 in MITCHUM)
                                                    PPP funds)
 DOL LLC                  $10,000.00                2/24/2021             Alpha 2 Omega
                                                    (4 days after         (MALIK
                                                    receiving $150,000 in MITCHUM)
                                                    PPP fimds)

                                              Conclusion


       42.      The defendant and MALIK MITCHUM received millions of dollars offraud

proceeds by wire transfer in interstate commerce. Many of these wire transfers affected

financial institutions because they were victimized by the fraud.

       43.      The actual loss foreseeable to the defendant from fraud perpetrated as part of the

conspiracy is not less than $1.4 million.

       44.      The intended loss foreseeable to the defendant from fraud perpetrated as part of

the conspiracy is not less than $5.1 million.

       45.      The acts taken by the defendant, in fiirtherance of the offense charged in this case,

including the acts described above, were done willfully and knowingly with the specific intent to




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violate the law. The defendant acknowledges that the foregoing statement of facts does not

describe all of the defendant's conduct relating to the offense charged in this case.


                                              Respectfully Submitted,

                                              Jessica D. Aber
                                              Acting United States Attorney



                                      By:
                                              D. Mack Cole man
                                              Assistant United States Attorney




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        Defendant's Signature: After consulting with my attorney and pursuant to the plea

agreement entered into this day between myself, the United States and my attorney, I hereby

stipulate that the above Statement of Facts is true and accurate, and that had the matter proceeded

to trial, the United States would have proved the same beyond a reasonable doubt.




                                              JENim MfTCHUM
                                              Defendant



       Defense Counsel's Signature: I am the attorney for defendant JENNA MITCHUM. I

have carefully reviewed the above Statement of Facts with her. To the best of my knowledge,

her decision to stipulate to these facts is an informed and voluntary one.




                                             ^^isdibr Defendant




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